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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION


ORCUN SELCUK; ALAN DAVID
GWILLIAM; TINGTING ZHEN;
MICHAEL BROKLOFF; and THE
LEAGUE OF UNITED LATIN
AMERICAN CITIZENS OF IOWA,
                                                Case No. 4:24-CV-00390
on behalf of itself and its members,
     Plaintiffs,
v.
PAUL D. PATE, in his official
capacity as the Iowa Secretary of       MOTION FOR EXTENSION TO
State; BENJAMIN D. STEINES, in         ANSWER OR FILE A MOTION TO
his official capacity as the                    DISMISS
Winneshiek County Auditor and
                                                   (UNRESISTED)
Winneshiek County Commissioner of
Elections; JAMIE FITZGERALD, in
his official capacity as the Polk
County Auditor and Polk County
Commissioner of Elections; MELVYN
HOUSER, in his official capacity as
the Pottawattamie County Auditor
and Pottawattamie County
Commissioner of Elections; ERIN
SHANE, in her official capacity as
the acting Johnson County Auditor
and acting Johnson County
Commissioner of Elections; and
KERRI TOMPKINS, in her official
capacity as the Scott County Auditor
and Scott County Commissioner of
Elections,
     Defendants.
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      Defendant Paul Pate, Iowa Secretary of State (“State Defendant”), requests an

extension of time to file an answer or motion to dismiss in response to Plaintiffs’

complaint.

      Plaintiffs filed their complaint on October 30, 2024. State Defendant waived

service on October 31, 2024. This Court gave State Defendant until December 30,

2024, to answer or move to dismiss Plaintiffs’ complaint. When Defendants waive

service, they are generally allotted 60 days to respond. See Fed. R. Civ. P. 12(A)(ii).

      Due to the holidays as well as the State’s immense and unavoidable workload

on other matters filed in state and federal courts, State Defendant requests an

extension of time to file an answer, motion to dismiss, or other pleading or motion

responsive to the Complaint. This case also presents multiple novel and complex

issues that require extensive research, including issues beyond those addressed in

the initial emergency briefing in this case. So, State Defendant requests an additional

thirty (30) days to either answer or move to dismiss the Complaint.

      The extra thirty (30) days is a reasonable extension that should accommodate

the State’s high caseload and the complexity of this case. The extension, if granted,

would result in a filing deadline of January 29, 2025.

      No other extensions have been granted in this matter.

      The Court has not yet set any other deadlines. The final pretrial conference

and trial dates also have not been set.
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      No party will be prejudiced by this extension. On December 16, 2024, State

Defendant contacted Plaintiffs, and Plaintiffs responded that they do not object to

State Defendant’s request for a thirty-day extension. So, this request is unresisted.

      WHEREFORE, State Defendant respectfully requests that this Court extend

the deadline to file an answer or motion to dismiss by thirty (30) days, thereby

resetting the response deadline to January 29, 2025.


                                         Respectfully submitted,

                                         BRENNA BIRD
                                         Attorney General of Iowa

                                         ERIC WESSAN
                                         Solicitor General of Iowa

                                         PATRICK C. VALENCIA
                                         Deputy Solicitor General

                                          /s/ Breanne A. Stoltze
                                         Breanne A. Stoltze
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Original filed electronically.
Copy electronically served on all parties of record.
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                                           PROOF OF SERVICE
                              The undersigned certifies that the foregoing
                              instrument was served on counsel for all
                              parties of record by delivery in the following
                              manner on December 18, 2024:


                                     U.S. Mail          FAX
                                    Hand Delivery            Overnight
                              Courier
                                     Federal Express          Other
                                     CM/ECF


                              Signature: /s/ Breanne A. Stoltze
